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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10   CHRISTIAN BOTELLO,                    Case No. 2:21-cv-05187-MCS-JEM
11
                      Plaintiff,           JUDGMENT
12
13               v.
14
     DARLING INGREDIENTS INC. and
15   DOES 1 through 100,
16
                      Defendants.
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Case 2:21-cv-05187-MCS-JEM Document 24 Filed 10/27/21 Page 2 of 2 Page ID #:461
